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     QUALCOMM INCORPORATED
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11
                                UNITED STATES DISTRICT COURT
12
                             SOUTHERN DISTRICT OF CALIFORNIA
13
     IN RE:                                     No. 3:17-CV-0108-GPC-MDD
14   QUALCOMM LITIGATION                        QUALCOMM INCORPORATED’S
15                                              STATEMENT OF NON-
                                                OPPOSITION REGARDING
16                                              MOTIONS TO SEAL FILED BY
                                                LENOVO, SONY, AND ZTE
17
                                                Judge:       Hon. Gonzalo P. Curiel
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     QUALCOMM’S STATEMENT OF NON-                                  Case No. 3:17-CV-0108-GPC-MDD
     OPPOSITION TO MOTIONS TO SEAL BY LENOVO,
     SONY, AND ZTE
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1           Pursuant to Civil Local Rule 7.1.f.3.a., Qualcomm Incorporated hereby states that
2    it takes no position on, and does not oppose the relief sought by, the following motions
3    filed by non-parties Sony Mobile Communications (USA), Inc.; ZTE (USA) Inc.; Lenovo
4    (United States), Inc. and Motorola Mobility LLC regarding sealing exhibits or deposition
5    designations to the extent such materials are received into evidence at trial:
6                Non-Party Sony Mobile Communications (USA) Inc.’s Ex Parte Motion to
7                   Seal Trial Exhibits and Deposition Designations (ECF 1165);
8                Nonparty ZTE (USA) Inc.’s Motion to Seal PTX001088 and PTX01388
9                   (ECF 1164)
10               Notice Regarding Motion to Seal Exhibits Containing Confidential
11                  Information of Non-Parties Lenovo (United States), Inc. and Motorola
12                  Mobility LLC for Use at Trial (ECF 1153).
13   Dated: April 16, 2019                          Respectfully submitted,
14                                                  By: /s/ Evan R. Chesler
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      QUALCOMM’S STATEMENT OF NON-                -1-                 CASE NO. 3:17-CV-0108-GPC-MDD
      OPPOSITION TO MOTIONS TO SEAL BY LENOVO,
      SONY, AND ZTE
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     QUALCOMM’S STATEMENT OF NON-               -2-               CASE NO. 3:17-CV-0108-GPC-MDD
     OPPOSITION TO MOTIONS TO SEAL BY LENOVO,
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1                                    CERTIFICATE OF SERVICE
2          The undersigned hereby certifies that a true and correct copy of the above and
3    foregoing document has been served on April 16, 2019, to all counsel of record who are
4    deemed to have consented to electronic service via the Court’s CM/ECF system per Civil
5    Local Rule 5.4(d). Any other counsel of record will be served by electronic mail,
6    facsimile and/or overnight delivery.
7          I certify under penalty of perjury that the foregoing is true and correct. Executed
8    on April 16, 2019, at San Diego, California.
9
                                                         s/ Evan R. Chesler
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     OPPOSITION TO MOTIONS TO SEAL BY LENOVO,
     SONY, AND ZTE
